USCA Case #25-1004   Document #2101219        Filed: 02/18/2025   Page 1 of 35
           ORAL ARGUMENT NOT YET SCHEDULED
                             No. 25-1004

          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES STEEL CORPORATION; NIPPON STEEL NORTH
     AMERICA, INC.; and NIPPON STEEL CORPORATION,

                                              Petitioners,

                                  v.

 THE COMMITTEE ON FOREIGN INVESTMENT IN THE UNITED
                   STATES, ET AL.,

                                             Respondents.


    On Petition for Review of Actions of President Biden and of the
       Committee on Foreign Investment in the United States

             PETITIONERS’ OPPOSITION TO
     UNITED STEELWORKERS’ MOTION TO INTERVENE


 Douglas H. Hallward-Driemeier           Andrew J. Pincus
 ROPES & GRAY LLP                        MAYER BROWN LLP
 2099 Pennsylvania Avenue, N.W.          1999 K Street, N.W.
 Washington, DC 20006                    Washington, DC 20006
 (202) 508-4600                          (202) 263-3000
 Douglas.Hallward-                       APincus@mayerbrown.com
 Driemeier@ropesgray.com

 Counsel for Petitioners Nippon          Counsel for Petitioner United
 Steel North America, Inc. and           States Steel Corporation
 Nippon Steel Corporation
             (Additional counsel listed on signature page)
USCA Case #25-1004            Document #2101219                 Filed: 02/18/2025         Page 2 of 35



                                 TABLE OF CONTENTS

                                                                                                 Page


INTRODUCTION ..................................................................................... 1
BACKGROUND ....................................................................................... 5
ARGUMENT ............................................................................................ 8
       I.      UNITED STEELWORKERS MAY NOT INTERVENE
               BECAUSE IT LACKS ARTICLE III STANDING................. 8
               A.      United Steelworkers’ Claimed “Injuries” Do Not
                       Satisfy Article III. ......................................................... 8
               B.      The Decisions Cited By United Steelworkers Are
                       Inapposite. ................................................................... 15
       II.     EVEN IF IT COULD ESTABLISH STANDING,
               UNITED STEELWORKERS FAILS TO SATISFY THE
               OTHER REQUIREMENTS FOR INTERVENING AS
               OF RIGHT. ........................................................................... 19
               A.      The Union Lacks A Sufficient Interest Relating
                       To The Transaction. .................................................... 20
               B.      Disposition Of The Action Will Not Impair Or
                       Impede United Steelworkers’ Ability To Protect
                       Any Interest. ............................................................... 22
               C.      United Steelworkers’ Interests Are Adequately
                       Represented by Respondents. ..................................... 23
               D.      Permitting Intervention Here Would Open The
                       Door Wide To Intervention By Numerous Parties. .... 24
       III.    THE COURT SHOULD DENY UNITED
               STEELWORKERS’ REQUEST FOR PERMISSIVE
               INTERVENTION. ................................................................ 26
CONCLUSION ....................................................................................... 28




                                                   i
USCA Case #25-1004            Document #2101219                Filed: 02/18/2025        Page 3 of 35



                              TABLE OF AUTHORITIES

                                                                                               Page

Cases

Arpaio v. Obama,
  797 F.3d 11 (D.C. Cir. 2015) ................................................................. 4

Bako Pathology LP v. Bakotic,
  288 A.3d 252 (Del. 2022) ..................................................................... 22

Bldg. & Constr. Trades Dep’t v. Reich,
  40 F.3d 1275 (D.C. Cir. 1994) ............................................................. 23

Clapper v. Amnesty Int’l USA,
  568 U.S. 398 (2013) ............................................................................... 9

Crossroads Grassroots Policy Strategies v. FEC,
  788 F.3d 312 (D.C. Cir. 2015) ............................................................. 16

Deutsche Bank Nat’l Tr. Co. v. FDIC,
  717 F.3d 189 (D.C. Cir. 2013) ................................. 8, 11, 18, 19, 20, 24

Diamond v. Charles,
  476 U.S. 54 (1986) ............................................................................... 27

FDA v. Alliance for Hippocratic Medicine,
  602 U.S. 367 (2024) ....................................................................... 10, 25

Fund for Animals, Inc. v. Norton,
  322 F.3d 728 (D.C. Cir. 2003) ....................................................... 15, 16

Georgia v. U.S. Army Corps of Eng’rs,
  302 F.3d 1242 (11th Cir. 2002) ........................................................... 27

Havens Realty Corp. v. Coleman,
  455 U.S. 363 (1982) ............................................................................. 10

Lujan v. Defenders of Wildlife,
  504 U.S. 555 (1992) ............................................................................... 9



                                                  ii
USCA Case #25-1004              Document #2101219                    Filed: 02/18/2025          Page 4 of 35



Mass. Sch. of Law at Andover, Inc. v. United States,
  118 F.3d 776 (D.C. Cir. 1997) ............................................................... 8

Mendoza v. Perez,
  754 F.3d 1002 (D.C. Cir. 2014) ........................................................... 17

Murthy v. Missouri,
  603 U.S. 43 (2024) ............................................................................... 11

NLRB v. Ins. Agents’ Int’l Union,
  361 U.S. 477 (1960) ............................................................................. 14

Norfolk S. Ry. v. Solis,
  915 F. Supp. 2d 32 (D.D.C. 2013) ....................................................... 14

Save Jobs USA v. Dep’t of Homeland Sec.,
  942 F.3d 504 (D.C. Cir. 2019) ............................................................. 17

Spokeo, Inc. v. Robins,
  578 U.S. 330 (2016) ............................................................................... 9

TransUnion LLC v. Ramirez,
  594 U.S. 413 (2021) ............................................................................... 8

Water Transp. Ass’n v. ICC,
  819 F.2d 1189 (D.C. Cir. 1987) ........................................................... 17

Yocha Dehe v. U.S. Dep’t of the Interior,
  3 F.4th 427 (D.C. Cir. 2021) ............................................................... 16

Statutes

50 U.S.C.
   § 4565 .................................................................................................... 5
   § 4565(b)(1)(A)....................................................................................... 5
   § 4565(b)(1)(B)....................................................................................... 5
   § 4565(d)(1) ........................................................................................... 6
   § 4565(d)(4) ........................................................................................... 6
   § 4565(l)(2) ............................................................................................ 6
   § 4565(l)(3)(A)(i) ................................................................................ 5, 6



                                                      iii
USCA Case #25-1004            Document #2101219                 Filed: 02/18/2025         Page 5 of 35



Other Authorities

Fed. R. Civ. P. 24 ............................................................................... 20, 22

Fed. R. Civ. P. 24(a)........................................................................... 19, 20

Fed. R. Civ. P. 24(a)(2) ................................................................ 20, 22, 23

Fed. R. Civ. P. 24(b)........................................................................... 26, 27

Fed. R. Civ. P. 24(b)(1)(B) ....................................................................... 26

Fed. R. Civ. P. 24(b)(3) ............................................................................ 26

Maya Wilkins, USW President McCall Releases Statement
  After U.S. Steel Lawsuit, Chi. Trib. (Jan. 12, 2025) .......................... 28




                                                   iv
USCA Case #25-1004    Document #2101219       Filed: 02/18/2025   Page 6 of 35



                           INTRODUCTION

     This proceeding relates to the proposed merger between United

States Steel Corporation (U. S. Steel) and Nippon Steel North America,

Inc. (with Nippon Steel Corporation, Nippon Steel). Petitioners challenge

the actions blocking that merger by then-President Biden and the

Committee on Foreign Investment in the United States (CFIUS).

     The public record makes clear that President Biden’s action had

nothing to do with national security—the only permissible ground for

rejecting the merger under the governing statute—and rested instead on

illegitimate political considerations: his desire to be endorsed for re-

election by the United Steel, Paper and Forestry, Rubber, Manufacturing,

Allied Industrial and Service Workers International Union (United

Steelworkers or union).

     David McCall, the union president, made clear that blocking the

merger was critical to the United Steelworkers leadership. And

endorsement by the United Steelworkers’ leadership was critical to

President   Biden’s   reelection   campaign   in    the   swing    state   of

Pennsylvania.




                                    1
USCA Case #25-1004   Document #2101219        Filed: 02/18/2025   Page 7 of 35



     On February 2, 2024, McCall issued a statement saying that he had

received “personal assurances” that President Biden had the union’s

“back[].” App.593. President Biden formally announced his decision to

block the transaction in March 2024, before the CFIUS national security

review process had even begun. United Steelworkers endorsed his re-

election less than a week later. CFIUS, which was composed of President

Biden’s political appointees, then engineered a sham review that enabled

President Biden to implement his announced decision to block the

merger.

     President Biden’s and CFIUS’s actions violated Petitioners’

constitutional and statutory rights. Petitioners seek invalidation of those

actions and a remand to CFIUS with instructions to engage in a new

review of the transaction, consistent with the Constitution and governing

statute.

     Now, remarkably, the union has moved to intervene as a

respondent, both as of right and on a permissive basis.

     But there is no factual or legal basis for intervention, and the

motion should be denied. Indeed, the motion is simply another effort by

David McCall to try to improperly obstruct the merger—for reasons



                                    2
USCA Case #25-1004    Document #2101219        Filed: 02/18/2025   Page 8 of 35



unrelated to national security—and thus reinforces the merits of

Petitioners’ substantive challenge.

     Granting intervention would violate this Court’s settled precedent,

and open the door to intervention by a wide variety of third parties

seeking to challenge, or defend, actions by CFIUS and the President—

even though they are not parties to the transaction under review.

Suppliers, customers, individual employees, competitors, and other

parties invoking speculative downstream effects from permitting or

blocking a transaction all would be able to institute actions in this Court

or participate as parties in actions initiated by others.

     United Steelworkers asserts three interests in support of the

motion to intervene as of right, but none comes close to satisfying the

essential prerequisite for intervention: demonstrating Article III

standing. First, the union contends that if Petitioners prevail and the

transaction ultimately is consummated, the union may have to expend

additional resources in trade-remedy proceedings. Second, it contends

that consummation of the transaction may lead to increased job

insecurity for its members. Third, it maintains that the transaction




                                      3
USCA Case #25-1004   Document #2101219        Filed: 02/18/2025   Page 9 of 35



would harm the United Steelworkers’ bargaining position vis-à-vis a

post-merger U. S. Steel.

     Each asserted harm is speculative and entirely dependent on

“predictions of future events (especially future actions to be taken by

third parties),” Arpaio v. Obama, 797 F.3d 11, 21 (D.C. Cir. 2015)—the

very sort of claim that this Court has consistently found insufficient to

establish standing. (Also, none of the union’s purported harms has

anything to do with national security.) The union’s lack of standing to

intervene in support of the governmental actions is further confirmed by

the indisputable reality that neither United Steelworkers nor its

property was the object of the at-issue government actions. And the union

does not even attempt to argue that the government is incapable of

advancing a full defense of the actions at issue here, a separate basis for

rejecting intervention. For similar reasons, the Court should not allow

United Steelworkers to intervene permissively.

     The union may put all of its arguments before the Court by seeking

permission to file an amicus curiae brief—just like the local government

representatives, trade associations, local union representatives, and




                                    4
USCA Case #25-1004   Document #2101219        Filed: 02/18/2025   Page 10 of 35



other parties that filed amicus briefs in support of Petitioners. It may not

participate as a party.

                            BACKGROUND

      For purposes of this opposition, Petitioners recite only the relevant

factual and procedural background; a more complete description appears

in Petitioners’ opening brief. See Opening Br. 10-30.

      In December 2023, U. S. Steel ended a monthslong bidding and

negotiation process by announcing that Nippon Steel would acquire U. S.

Steel for a total enterprise value of $14.9 billion. The merger was

contingent on the parties’ ability to obtain regulatory approvals, which

included completing the CFIUS national security review process, set

forth in Section 721 of the Defense Production Act, 50 U.S.C. § 4565.

Opening Br. 14-15.

      Under that process, CFIUS must “review” and “investigat[e]” a

“covered transaction” to “determine the effects of the transaction on the

national security.” 50 U.S.C. § 4565(b)(1)(A)-(B). After completing its

review, CFIUS may allow the transaction to proceed. But if it identifies a

national security concern, CFIUS may enter into an agreement with the

parties to the transaction that mitigates any risk to national security, id.



                                     5
USCA Case #25-1004   Document #2101219       Filed: 02/18/2025   Page 11 of 35



§ 4565(l)(3)(A)(i), or it may “refer the transaction to the President,” id.

§ 4565(l)(2). In turn, the President—only if CFIUS refers the transaction

to him—may prohibit the transaction only by finding both that (a) “there

is credible evidence” that the transaction threatens to impair national

security and the potential threats to national security cannot be

mitigated by a national security agreement; and (b) no other “provisions

of law . . . provide adequate and appropriate authority” to protect

national security. Id. § 4565(d)(1), (4). Thus, national security concerns

are the only permissible basis for action by both CFIUS and the

President.

      The record makes clear that President Biden’s decision here was

not at all based on national security concerns, but rather on election-year

politics—in particular, his effort to gain United Steelworkers’ support for

his reelection campaign in the battleground state of Pennsylvania.

Opening Br. 15-18.

      President Biden made and announced his decision to block the

transaction before the CFIUS process even began. CFIUS—composed of

President Biden’s political appointees—then reverse-engineered its

process to result in a referral of the transaction to President Biden,



                                    6
USCA Case #25-1004   Document #2101219       Filed: 02/18/2025   Page 12 of 35



flouting its procedural obligations; disclosing confidential information to

McCall and others, in violation of CFIUS’s own regulations; and declining

to engage at all on Petitioners’ multiple mitigation proposals. Opening

Br. 19-29.1 That referral made it possible for President Biden to block the

merger.

      President Biden’s and CFIUS’s actions violated Petitioners’ due

process rights; CFIUS’s referral of the transaction pursuant to Section

721 of the Defense Production Act violated both that Act and the

Administrative Procedure Act; and President Biden’s decision to block

the transaction was ultra vires. Opening Br. 33-69.

      On February 5, 2025, United Steelworkers moved to intervene in

this case.




1 Those   proposals included binding commitments to ensure that U. S.
Steel and its management continue to pursue trade measures under U.S.
law free from interference by Nippon Steel; maintain and enhance U. S.
Steel’s production capacity in the United States, including commitments
by Nippon Steel for investments across U. S. Steel’s union-represented
facilities; and assure the continued ownership of U. S. Steel in the United
States. Opening Br. 7-8, 21-24 & 63-67.

                                    7
USCA Case #25-1004    Document #2101219      Filed: 02/18/2025   Page 13 of 35



                              ARGUMENT

I.    UNITED STEELWORKERS MAY NOT INTERVENE
      BECAUSE IT LACKS ARTICLE III STANDING.

      “[I]ntervention in the court of appeals is governed by the same

standards as in the district court.” Mass. Sch. of Law at Andover, Inc. v.

United States, 118 F.3d 776, 779 (D.C. Cir. 1997). For both intervention

as of right and permissive intervention, “it is . . . circuit law that

intervenors must demonstrate Article III standing.” Deutsche Bank Nat’l

Tr. Co. v. FDIC, 717 F.3d 189, 193 (D.C. Cir. 2013); see also id. at 195-96

(Silberman, J., concurring) (“[o]ur rule requiring all intervenors to

demonstrate Article III standing” applies to permissive intervention).

The union cannot come close to satisfying these requirements.

      A.      United Steelworkers’ Claimed “Injuries” Do Not Satisfy
              Article III.

      To satisfy Article III’s standing requirement, a would-be intervenor

“must show (i) that he suffered an injury in fact that is concrete,

particularized, and actual or imminent; (ii) that the injury was likely

caused by the defendant; and (iii) that the injury would likely be

redressed by judicial relief.” TransUnion LLC v. Ramirez, 594 U.S. 413,

423 (2021).




                                    8
USCA Case #25-1004    Document #2101219        Filed: 02/18/2025   Page 14 of 35



      “For an injury to be particularized, it must affect the plaintiff in a

personal and individual way.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339

(2016) (quotation marks omitted). And to be concrete, it “must be de facto;

that is, it must actually exist.” Id. at 340 (quotation marks omitted).

      In addition, the Supreme Court has “repeatedly reiterated that

threatened injury must be certainly impending to constitute injury in fact

and that allegations of possible future injury are not sufficient.” Clapper

v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (cleaned up).

      Because United Steelworkers does not allege injuries based on

government regulation of the union itself, but rather on “regulation . . .

of someone else” (i.e., Petitioners), the union’s standing is “ ‘substantially

more difficult’ to establish.” Lujan v. Defenders of Wildlife, 504 U.S. 555,

562 (1992) (citation omitted). That is because in such circumstances,

standing depends on the response of the third party being regulated by

the government, not an injury flowing directly from the governmental

action itself. Id.

      The union does not try to explain why it has standing even though

it bears that burden. It identifies no concrete injury in fact that is actual




                                      9
USCA Case #25-1004   Document #2101219       Filed: 02/18/2025   Page 15 of 35



or imminent. The three speculative interests it asserts in support of

intervention are not anywhere close to sufficient to establish standing.

      First, United Steelworkers argues (Mot. 12-15) that consummation

of the merger will force it to use resources for participation in trade-

remedy proceedings, on the theory that a post-merger U. S. Steel will stop

participating in such actions.

      The Supreme Court rejected this very responsive-expenditure

theory of standing just last year in FDA v. Alliance for Hippocratic

Medicine, 602 U.S. 367 (2024), a case the union fails to cite. There, as

here (Mot. 15), a party argued that, “under Havens Realty Corp. v.

Coleman, [455 U.S. 363 (1982),] standing exists when an organization

diverts its resources in response to a defendant’s actions,” 602 U.S. at

395. But Alliance for Hippocratic Medicine expressly disavowed this

interpretation of Havens, rejecting the argument that “standing exists

when an organization diverts its resources in response to a defendant’s

actions,” and explaining that an organization cannot “spend its way into

standing.” Id. at 394-96.

      This asserted injury fails for the additional reason that it is not

certainly impending. For United Steelworkers’ hypothetical trade-



                                   10
USCA Case #25-1004   Document #2101219        Filed: 02/18/2025   Page 16 of 35



remedy-expenditure injury to occur, Petitioners would have to prevail on

their merits claims of insufficient process, then obtain a favorable

determination approving the merger on remand to CFIUS, then

consummate the transaction, and then decline to participate in as-yet-to-

be-filed trade-remedy proceedings. Put simply, “at least [four] major

contingencies must occur before [Petitioners’] suit could result in [this]

economic harm to” United Steelworkers. Deutsche Bank, 717 F.3d at 193.

      The claimed injury—the potential reallocation of resources to

address trade-remedy proceedings—likewise is not traceable to the

challenged government actions, but instead to independent actions of

parties other than the government. And the Supreme Court consistently

rejects standing based on “one-step-removed, anticipatory” claims of

injury that rest on predictions of future actions by parties other than the

defendant. Murthy v. Missouri, 603 U.S. 43, 56 (2024); see also App.212

¶7, App.223-26 ¶¶28-30 (Padilla Decl.) (explaining that any concern

regarding trade-remedy proceedings “is entirely speculative and relies

upon multiple, interdependent, and erroneous assumptions about private

parties’ economic incentives and actions”).




                                    11
USCA Case #25-1004   Document #2101219        Filed: 02/18/2025   Page 17 of 35



      Indeed,   Petitioners’   proposed    national   security    agreement

contained a binding commitment by Nippon Steel to refrain from

interfering with U. S. Steel’s decisions to pursue trade cases—and to

leave those decisions to U. S. Steel’s board, which would be composed of

a majority of U.S. citizen board members. Opening Br. 65-66. United

Steelworkers’ theory of standing speculates that Nippon Steel could and

would disregard this commitment, and for this additional reason is

fatally speculative and improperly relies on the assumption of future

action by parties other than the government.

      Second, United Steelworkers asserts (Mot. 15-20) that its members

may suffer increased job insecurity if the merger is consummated. But

again, its asserted injury is entirely speculative, not imminent, and

depends on the actions of third parties.

      To begin with, multiple members and local leaders of the United

Steelworkers filed an amicus brief supporting Petitioners. Thus, the

union leadership’s argument is directly contrary to the position of the

local steelworkers themselves, who strongly favor the merger because it

will secure their jobs. See Brief for Local Governmental Officials and




                                    12
USCA Case #25-1004    Document #2101219        Filed: 02/18/2025   Page 18 of 35



Local Union Officials of Monongahela Valley and Gary, Indiana as Amici

Curiae, at 16-19 (Local Government and Union Officials Br.).

      Those views are supported by the decision of a labor arbitration

panel convened at the union’s request, which determined that “[t]here

will be no layoffs, plants idled or permanently closed following completion

of, or as a result of, [the merger]” through the end of the union’s current

labor agreement in late 2026. AR_010498-99.

      This claim of injury also fails because it rests entirely on the actions

of parties not before the Court, and for that additional reason is

insufficient to establish standing. The union speculates (Mot. 16) that

consumer demand for cheaper foreign steel may mean that Nippon Steel’s

mills in other countries are more profitable than those in the United

States, leading to closure of U.S. facilities. But that speculation assumes

particular actions by third-party actors across the globe, including steel

producers and customers. That cannot suffice to establish standing.

      Finally, Petitioners’ proposed national security agreement included

binding, enforceable provisions requiring investments to maintain and

enhance production at U. S. Steel facilities post-merger. Opening Br. 66-




                                     13
USCA Case #25-1004   Document #2101219        Filed: 02/18/2025   Page 19 of 35



67. Again, United Steelworkers’ theory of standing speculates that

Nippon Steel could and would disregard this commitment.

      Third, United Steelworkers argues (Mot. 20-22) that it has a legally

cognizable interest because consummation of the merger would result in

a larger company that would weaken the union’s bargaining position.

      Accepting this injury as sufficient to establish standing would mean

that a union, or even an individual employee, could intervene to challenge

any government approval of a merger that would increase the size of an

employer. Every merger or acquisition inevitably changes “the degree of

economic power” held by a company. NLRB v. Ins. Agents’ Int’l Union, 361

U.S. 477, 489 (1960). But, under United Steelworkers’ theory, whenever

a company expands its size (and therefore its bargaining power), a union

suffers a legally cognizable injury and may sue to enjoin that expansion.

That would broaden Article III standing well beyond the breaking point.

Cf. Norfolk S. Ry. v. Solis, 915 F. Supp. 2d 32, 41 (D.D.C. 2013) (denying

intervention because unions could not show that “interest as a collective

bargaining overseer is sufficiently related to defending the [agency’s]

interpretation of [the statute] to merit intervention.”).




                                    14
USCA Case #25-1004    Document #2101219      Filed: 02/18/2025   Page 20 of 35



      B.    The Decisions Cited By United Steelworkers Are
            Inapposite.

      United Steelworkers cites in passing a few decisions from this

Court. None supports the union’s position.

      For example, United Steelworkers invokes Fund for Animals, Inc.

v. Norton, 322 F.3d 728 (D.C. Cir. 2003), which involved a challenge to a

rule declining to classify certain Mongolian sheep as an endangered

species. The Mongolian government moved to intervene, and the Court

held that it had standing. As the Court explained, “while [the Mongolian

government] is not itself the object of the challenged agency action, sheep

that Mongolia regards as its national property and natural resource

plainly are its subject.” Id. at 734. That was enough to confer standing

because there was “no meaningful distinction between a regulation that

directly regulates a party and one that directly regulates the disposition

of a party’s property.” Id.

      Here, by contrast, nothing in the challenged government action

“directly regulates” any of United Steelworkers’ property, interests, or

rights. This case concerns a merger to which neither the union nor its

members are a party, pursuant to a national security statute that does

not regulate the conduct of the union or its members. At most, United


                                    15
USCA Case #25-1004   Document #2101219        Filed: 02/18/2025   Page 21 of 35



Steelworkers speculates that the government’s blocking of the

transaction, if lifted, might result in a merger that might possibly lead to

speculative downstream effects on United Steelworkers’ interests. That

is very far from the direct, concrete effect on property owned by the

putative intervenor in Fund for Animals. See also Yocha Dehe v. U.S.

Dep’t of the Interior, 3 F.4th 427, 431 (D.C. Cir. 2021) (no standing when

“neither [the would-be intervenor] nor its property is the direct subject of

the” government’s action and the action “is too many steps removed from

[the] claimed threat of future harm . . . for that harm to be imminent”).

      United Steelworkers also cites Crossroads Grassroots Policy

Strategies v. FEC, 788 F.3d 312 (D.C. Cir. 2015). But the agency decision

challenged there, so long as it remained in place, meant that the

intervenor “face[d] no further exposure to enforcement proceedings

before the FEC related to the complaint, nor [wa]s it exposed to civil

liability via private lawsuit.” Id. at 318. Thus, the intervenor had

standing because “invalidating the . . . order would extinguish the current

barrier to enforcement and would limit the [government agency’s]

discretion in the future.” Id. at 319. There is no remotely similar interest

in this case, where setting aside President Biden’s and CFIUS’s actions



                                    16
USCA Case #25-1004   Document #2101219       Filed: 02/18/2025   Page 22 of 35



would not affect United Steelworkers’ legal rights or potential liabilities

in any respect.

      United Steelworkers gets no support from two decisions it cites

(Mot. 19) for the proposition that the hypothesized prospective economic

disadvantage its members may face from the merger supports

intervention.

      Both cases involved rulemaking proceedings that led to “an actual

or imminent increase in competition” that could harm the intervening

party. Save Jobs USA v. Dep’t of Homeland Sec., 942 F.3d 504, 509 (D.C.

Cir. 2019) (quotation marks omitted); Mendoza v. Perez, 754 F.3d 1002,

1010 (D.C. Cir. 2014). This action, by contrast, seeks review of a party-

specific determination akin to an adjudication, not a rule setting legal

standards governing the would-be intervenor and its operations. See

Opening Br. 40-41. United Steelworkers had no right under the Defense

Production Act to participate in the CFIUS proceeding (as it improperly

attempted to do)—or, given CFIUS’s strict confidentiality requirements,

even to receive information about the proceeding. It therefore has no

right to participate before this Court. Cf. Water Transp. Ass’n v. ICC, 819

F.2d 1189, 1192 (D.C. Cir. 1987) (“Only those who have participated in



                                    17
USCA Case #25-1004    Document #2101219      Filed: 02/18/2025   Page 23 of 35



the proceeding before the Commission have standing to petition for

review of its action.”).

      This case instead resembles Deutsche Bank National Trust Co.,

supra. There, holders of notes issued by a failed bank sought to intervene

as defendants in a lawsuit filed by Deutsche Bank against the FDIC,

which was serving as the failed bank’s receiver. One threshold question

was whether the FDIC had transferred the liabilities and obligations to

a third-party bank. The would-be intervenors “point[ed] to their economic

interest in the receivership funds,” but this Court held they nonetheless

lacked standing because they did not “show[] that their economic interest

faces an imminent, threatened invasion—i.e., one that is not conjectural

or speculative.” 717 F.3d at 193.

      As this Court explained, the movants’ claimed injury did not satisfy

Article III for two reasons. First, “at least two major contingencies must

occur before [the] suit could result in economic harm”: the court had to

conclude the FDIC had transferred the liabilities, and Deutsche Bank

had to prevail on the merits. 717 F.3d at 193. Because two contingencies

had to occur to affect the movants’ interests, “it seems unlikely that the

prospect of harm is actual or imminent.” Id. Second, “the real alleged



                                    18
USCA Case #25-1004    Document #2101219       Filed: 02/18/2025   Page 24 of 35



threat to appellants’ legally protected interest” was “the prospect that the

FDIC would enter into what appellants regard as an unfavorable

settlement.” Id. This concern, however, was “hopelessly conjectural.” Id.

      The attempt to intervene here suffers from the same flaws. As

explained above, a series of contingencies must occur before any of United

Steelworkers’ asserted interests could be affected. And like the movants

in Deutsche Bank, all of United Steelworkers’ asserted injuries are

“hopelessly conjectural”—they depend on actions yet to be taken by

Petitioners, Respondents, and a host of third-party actors. That dooms

United Steelworkers’ attempt to establish Article III standing.

II.   EVEN IF IT COULD ESTABLISH STANDING, UNITED
      STEELWORKERS FAILS TO SATISFY THE OTHER
      REQUIREMENTS FOR INTERVENING AS OF RIGHT.

      Even if the union could establish Article III standing (and it

cannot), the union fails to satisfy the other prerequisites for intervention

as of right. Thus, Rule 24(a) permits intervention only if the putative

intervenor “claims an interest relating to the property or transaction that

is the subject of the action, and is so situated that disposing of the action

may as a practical matter impair or impede the movant’s ability to protect




                                     19
USCA Case #25-1004    Document #2101219         Filed: 02/18/2025   Page 25 of 35



its interest, unless existing parties adequately represent that interest.”

Fed. R. Civ. P. 24(a)(2).

      A.    The Union Lacks A Sufficient Interest Relating To The
            Transaction.

      The union plainly does not have the type of interest that Rule 24(a)

requires.

      Again, Deutsche Bank is instructive. There, the Court concluded

that “[e]ven if appellants enjoyed Article III standing . . . they would still

run afoul of prudential standing requirements.” 717 F.3d at 194. As the

Court explained, prudential standing “could be thought similar to the

concept embodied in Rule 24 that a proposed intervenor must have an

interest ‘relating to’ the property or transaction at issue in litigation.” Id.

And there, the would-be intervenors “lack[ed] prudential standing . . .

because they were neither the parties nor intended third-party

beneficiaries” of the transaction. Id.

      The   same     conclusion   applies   here.   As explained,       United

Steelworkers is not a party to, and has no rights in, the CFIUS process.

Nor is the union’s interest even relevant to the determination made

under the Defense Production Act by the President or CFIUS, which is

limited to consideration of national security, not a union’s concern with


                                      20
USCA Case #25-1004    Document #2101219        Filed: 02/18/2025   Page 26 of 35



its finances or negotiating strength. United Steelworkers therefore has

no interest relating to the governmental decisions at issue here.

      The same is true when looking at the case from the perspective of

the private transaction before CFIUS and President Biden. United

Steelworkers is not a party to the proposed merger. That merger is a

transaction between U. S. Steel and Nippon Steel. United Steelworkers

may be self-interested in whether the merger goes forward, but it plainly

is not a party to the agreement.

      Nor is the union an intended third-party beneficiary of the

agreement. See Merger Agreement § 9.9 (“[T]his Agreement is for the sole

benefit of the Parties and their permitted assigns and nothing in this

Agreement is intended to and shall not confer upon any Person other

than the Parties any rights or remedies hereunder.”). Under Delaware

law, which governs the merger agreement, “(i) the contracting parties

must have intended that the third party beneficiary benefit from the

contract, (ii) the benefit must have been intended as a gift or in

satisfaction of a pre-existing obligation to that person, and (iii) the intent

to benefit the third party must be a material part of the parties’ purpose




                                     21
USCA Case #25-1004     Document #2101219         Filed: 02/18/2025    Page 27 of 35



in entering into the contract.” Bako Pathology LP v. Bakotic, 288 A.3d

252, 271 (Del. 2022) (quotation marks omitted).

      The union does not, and could not, claim that to be true here.

Accordingly,    United    Steelworkers      lacks   prudential       standing   to

intervene—and thus lacks a sufficient interest in the transaction to

warrant intervention under Rule 24.

      B.    Disposition Of The Action Will Not Impair Or Impede
            United Steelworkers’ Ability To Protect Any Interest.

      United Steelworkers also fails to show that it is “so situated that

disposing of the action may as a practical matter impair or impede its

ability to protect [its] interest.” Fed. R. Civ. P. 24(a)(2).

      United Steelworkers devotes only one sentence of its motion to this

factor. It asserts that, if Petitioners prevail on the merits, “it would be

difficult” to “reestablish the status quo, which is a state of affairs where

the proposed merger cannot proceed.” Mot. 22 (cleaned up). But the union

has no protected interest in the status quo—as explained above, the

union has no statutory right to participate in the CFIUS review, no

contractual rights arising under the Merger Agreement, and no right to

interfere under its labor agreement as the arbitration panel confirmed.

Indeed, it would be particularly ironic if the union were permitted to


                                       22
USCA Case #25-1004    Document #2101219       Filed: 02/18/2025    Page 28 of 35



intervene given its improper interference in the statutory national

security review, which is described in Petitioners’ opening brief (at 15-18,

24-26, 60-61).

      C.    United Steelworkers’ Interests              Are       Adequately
            Represented by Respondents.

      United Steelworkers also is incorrect that its interests are not

adequately represented by Respondents. Fed. R. Civ. P. 24(a)(2); Bldg. &

Constr. Trades Dep’t v. Reich, 40 F.3d 1275, 1282 (D.C. Cir. 1994) (“[T]he

party’s interest must not be adequately represented by existing parties

to the action.”).

      The union seeks the same outcome here as the government:

rejection of Petitioners’ constitutional and statutory claims. It presents

no reason why the government will fail to adequately defend the

challenged actions.

      This case therefore resembles Building & Construction Trades

Department, supra. There, this Court rejected the would-be intervenor

union’s argument that its interests were not adequately represented by

the Department of Labor because the union there “offered no argument

not also pressed by” the government. 40 F.3d at 1282. That is just as true

here: United Steelworkers has not identified any argument it would


                                    23
USCA Case #25-1004   Document #2101219       Filed: 02/18/2025   Page 29 of 35



advance that it does not expect Respondents also to present. Accordingly,

Respondents adequately represent any interest the union might have

(although, as explained, the union has no interest here).

      D.   Permitting Intervention Here Would Open The Door
           Wide To Intervention By Numerous Parties.

      Allowing intervention here would have far-reaching adverse

consequences, both for the CFIUS review process specifically and for

intervention and standing doctrines generally.

      United Steelworkers offers no limiting principle to its boundless

theory of intervention. This Court was faced with and rejected a similarly

limitless theory of standing in Deutsche Bank. As the Court explained, if

would-be intervenors with a speculative and remote interest in the case

were “entitled to intervene, there is no apparent reason why any”

competitor or employee, “no matter how small, could be denied a similar

opportunity.” 717 F.3d at 192.

      That is equally true here—and for a broader set of potential

intervenors. Certainly if the union were permitted to intervene, then the

union members who filed an amicus brief in support of Petitioners would

be entitled to intervene in support of the transaction, given the harm that




                                    24
USCA Case #25-1004   Document #2101219       Filed: 02/18/2025   Page 30 of 35



they will suffer if the government actions are permitted to stand. Local

Government and Union Officials Br. 19-23.

      And it would not end there. Under the union’s view, any competitor

of a company subject to CFIUS review could challenge CFIUS’s approval

of a transaction because the transaction could affect the competitor’s

economic interests. Likewise, suppliers and customers could argue—as

United Steelworkers does here—that their relative bargaining power

with any company that seeks to expand would be weakened by any such

expansion. And, of course, these effects would not be limited to

proceedings involving CFIUS: a competitor, customer, or employee who

is aggrieved by virtually any transaction that involves government

approval or disapproval would be entitled to intervene.

      Nor would United Steelworkers’ position be limited to intervention

to defend or challenge a government decision. All of those parties would

have standing to institute an action challenging any Presidential and/or

CFIUS action—whether disapproving or approving a transaction under

Section 721. Cf. All. for Hippocratic Med., 602 U.S. at 395. It would be

open season for any person with a tangential interest in a transaction to

invade what is supposed to be a confidential review process focused solely



                                   25
USCA Case #25-1004    Document #2101219        Filed: 02/18/2025   Page 31 of 35



on national security concerns. The Court should reject this theory of

unlimited standing and deny United Steelworkers’ motion.

III. THE COURT SHOULD DENY UNITED STEELWORKERS’
     REQUEST FOR PERMISSIVE INTERVENTION.

      United Steelworkers also argues that it should be permitted to

intervene pursuant to Rule 24(b). In pertinent part, that rule permits

intervention if the movant has “a claim or defense that shares with the

main action a common question of law or fact,” Fed. R. Civ. P. 24(b)(1)(B),

and whose participation would not “unduly delay or prejudice the

adjudication of the original parties’ rights,” Fed. R. Civ. P. 24(b)(3).

      United Steelworkers’ request to intervene permissively fails for

three reasons. First, as discussed above, the union lacks Article III

standing to intervene, which precludes permissive intervention.

      Second, United Steelworkers is wrong (Mot. 23) that its mere

“desire to defend the Order” is sufficient to create a claim or defense that

permits intervention. That nonsensical reasoning would open the door to

intervention in every case where some person or entity wishes to defend,

or attack, a challenged government action.

      If United Steelworkers instead means to argue that it shares a

“claim or defense” with the “main action” because it is defending


                                     26
USCA Case #25-1004   Document #2101219       Filed: 02/18/2025   Page 32 of 35



Respondents’ actions and advancing the same arguments, it fails to

explain why the Department of Justice cannot adequately represent that

interest.

      And to the extent that United Steelworkers means to argue that its

purported “injuries” create a “claim or defense,” that is not the kind of

“claim or defense” that Rule 24(b) contemplates. Rather, “[t]he words

‘claim or defense’ manifestly refer to the kinds of claims or defenses that

can be raised in courts of law as part of an actual or impending law suit.”

Diamond v. Charles, 476 U.S. 54, 76 (1986) (O’Connor, J., concurring).

United Steelworkers is not a party to any active or impending lawsuit

that has any overlapping claim or defense with this action. See Georgia

v. U.S. Army Corps of Eng’rs, 302 F.3d 1242, 1250 (11th Cir. 2002)

(“Permissive intervention under Fed. R. Civ. Proc. 24(b) is appropriate

where a party’s claim or defense and the main action have a question of

law or fact in common . . . .” (emphasis added)).

      Third, United Steelworkers states that it plans to “follow the

expedited briefing schedule” and will avoid repeating Respondents’

arguments. Mot. 23-24. But it is not apparent how United Steelworkers

knows what arguments Respondents intend to make, how it knows that



                                    27
USCA Case #25-1004   Document #2101219       Filed: 02/18/2025   Page 33 of 35



its arguments will not be duplicative, or what its differing arguments will

be. The union has not identified a single non-duplicative legal argument

that it would advance. And if United Steelworkers does intend to inject

entirely new, union-specific issues into this action, those issues will

inevitably distract from and delay the existing proceedings while

prejudicing Petitioners, who submitted their opening merits brief before

the union even asked to intervene, even though the union made public

statements about this action shortly after it was commenced. See Maya

Wilkins, USW President McCall Releases Statement After U.S. Steel

Lawsuit, Chi. Trib. (Jan. 12, 2025), https://bit.ly/4hFk86g.

      For all of these reasons, the Court should deny permissive

intervention.

                             CONCLUSION

      The motion to intervene should be denied.




                                    28
USCA Case #25-1004   Document #2101219        Filed: 02/18/2025   Page 34 of 35



      Respectfully submitted.

/s/ David B. Hennes                      /s/ Andrew J. Pincus
David B. Hennes                          Andrew J. Pincus
Alexander B. Simkin                      Nicole A. Saharsky
Andrew S. Todres                         Charles A. Rothfeld
ROPES & GRAY LLP                         Wajdi C. Mallat
1211 Avenue of the Americas              MAYER BROWN LLP
New York, NY 10036                       1999 K Street, Northwest
(212) 596-9000                           Washington, DC 20006
David.Hennes@ropesgray.com               (202) 263-3000
Alexander.Simkin@ropesgray.com           APincus@mayerbrown.com
Andrew.Todres@ropesgray.com              NSaharsky@mayerbrown.com
                                         CRothfeld@mayerbrown.com
Douglas H. Hallward-Driemeier            WMallat@mayerbrown.com
Stefan P. Schropp
ROPES & GRAY LLP                         Benjamin D. Bright
2099 Pennsylvania Avenue, N.W.           MAYER BROWN LLP
Washington, DC 20006                     1221 Avenue of the Americas
(202) 508-4600                           New York, NY 10020
Douglas.Hallward-                        (212) 506-2500
Driemeier@ropesgray.com                  BBright@mayerbrown.com
Stefan.Schropp@ropesgray.com
                                         Counsel for Petitioner United
Counsel for Petitioners Nippon Steel     States Steel Corporation
North America, Inc. and Nippon
Steel Corporation

Dated: February 18, 2025




                                   29
USCA Case #25-1004   Document #2101219        Filed: 02/18/2025   Page 35 of 35




                  CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Federal Rule

of Appellate Procedure 27(d)(2)(A) because it contains 5,199 words

excluding the parts of the brief exempted by Federal Rule of Appellate

Procedure 32(f ) and D.C. Circuit Rule 32(e)(1).

      This brief complies with the typeface requirements of Federal Rule

of Appellate Procedure 32(a)(5) and the type-style requirement of Rule

32(a)(6) because it was prepared in a proportionately spaced typeface

using Microsoft Word in Century Schoolbook 14-point type for text and

footnotes.

                                      /s/ Andrew J. Pincus
                                          Andrew J. Pincus

                     CERTIFICATE OF SERVICE

      I hereby certify that on February 18, 2025, I filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for the

District of Columbia Circuit by using the CM/ECF system which will

serve all counsel of record.

                                      /s/ Andrew J. Pincus
                                          Andrew J. Pincus
